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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                BALTIMORE DIVISION

    JASON ALFORD, DANIEL LOPER, WILLIS
    MCGAHEE, MICHAEL MCKENZIE, JAMIZE
    OLAWALE, ALEX PARSONS, ERIC SMITH,
    CHARLES SIMS, JOEY THOMAS, and LANCE
    ZENO, Individually and on Behalf of All Others
    Similarly Situated,
                                                           Case No. 1:23-cv-00358-JRR
                                 Plaintiffs,

                    vs.

    THE NFL PLAYER DISABILITY &
    SURVIVOR BENEFIT PLAN; et al.,

                                 Defendants.




                               PLAINTIFFS’ MOTION TO SEAL

        Pursuant to Local Rule 105.11 and Paragraph 17 of the Stipulated Protective Order, ECF

No. 104, Plaintiffs move to file under seal the unredacted administrative records and confidential

documents produced by Defendants that are exhibits to the motion to compel briefing.

        Although “[t]he common law presumes a right of the public to inspect and copy ‘all judicial

records and documents,’” that presumption “can be rebutted if countervailing interests heavily

outweigh the public interests in access.” Va. Dep’t of State Police v. Wash. Post, 386 F.3d 567,

575 (4th Cir. 2004) (first quoting Stone v. Univ. of Md. Med. Sys. Corp., 855 F.2d 178, 180 (4th

Cir. 1988); and then quoting Rushford v. New Yorker Magazine, Inc., 846 F.2d 249, 253 (4th Cir.

1988)); Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597-99 (1978). In deciding motions to

seal in this District, courts consider whether “less drastic alternatives to sealing,” such as redacting

documents, are possible. J.C. v. McKnight, No. DKC 23-2019, 2023 WL 5487216, at *1 (D. Md.


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Aug. 24, 2023) (citing In re Knight Publishing Co., 743 F.2d 231, 234 (4th Cir. 1984)). When a

court determines that sealing is appropriate, the court “provide[s] reasons, supported by specific

factual findings, for its decision to seal and for rejecting alternatives.” Id. (citing Knight, 743 at

234-35).

            Recognizing the balance between the public’s right to access and the Parties’ rights to

privacy, the Stipulated Protective Order requires that a party seeking to file Confidential

Information, as defined in the Protective Order, to either redact the Confidential Information or

seek permission from the Court to file unredacted versions under seal. ECF No. 104 at 8.

            Here, in support of their motion to compel, Plaintiffs cite documents from their

administrative records and other documents designated as confidential information by Defendants.

See Exs. A-G to Declaration of Benajmin R. Barnett in Support of Plaintiffs’ Motion to Compel

Discovery, dated Nov. 26, 2024; Exs. K-M to Declaration of Benajmin R. Barnett in Support of

Plaintiffs’ Reply to Their Motion to Compel Discovery, dated Dec. 20, 2024. The documents from

Plaintiffs’ administrative records in particular are highly sensitive and contain their private health

information, which qualifies as Confidential Information, as defined in the Stipulated Protective

Order, see ECF No. 104 at 2-4, and information identified in Federal Rule of Civil Procedure

5.2(a). 1

            In addition, page 28 of Plaintiffs’ opening memorandum in support of their motion to

compel refers to and quotes from a document that Defendants designated as confidential.



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      Defendants have designated nearly every file in Defendants’ limited document productions
to date as Confidential Information under the negotiated Protective Order. Some designations,
e.g., administrative records, are appropriate. Plaintiffs believe that other designations are
improper. On December 19, 2024, counsel for Plaintiff requested that NFL ALFORD-0012311 to
NFL ALFORD-0012318 be de-designated by agreement. Counsel for Defendants have declined
to do so. Accordingly, counsel for Plaintiffs will need to formally challenge that and potentially
other designations in the future..
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Accordingly, Plaintiffs are filing a redacted version of their opening memorandum on the public

docket and request that the unredacted version of the memorandum be sealed.

       Given the nature of these documents and their designation as Confidential Information,

Plaintiffs respectfully request that the Court seal (a) Exhibits A to M to Plaintiff’s opening and

reply declarations in support of their motion to compel and (b) the unredacted version of Plaintiffs’

opening memorandum in support of their motion to compel.

       A proposed Order accompanies this Motion.

Dated: December 26, 2024

                                                      Respectfully submitted,

                                                      SEEGER WEISS LLP

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